            Case 5:19-cv-00806-XR Document 8 Filed 04/05/22 Page 1 of 2




               I N T H E U N I T E D ST A T E S D I ST R I C T C O U R T F O R
                      T H E W E ST E R N D I ST R I C T O F T E X AS
                              SA N A N T O N I O D IV I SI O N

    JUAN MACIAS AND                                    N O : 5 : 19-CV-00806-XR
    J E N N I F E R M A C I A S,                (consolidated with 5:18-CV-00555-XR)

    Plaintiffs

    vs.

    UNITED STATES OF
    AMERICA,

    Defendant



                                   FINAL JUDGMENT

          Judgment is entered in accordance with the Findings of Fact & Conclu-

sions of Law, in cause No. 5:18-cv-00555-XR (February 7, 2022) (ECF No.

584), by District Judge Xavier Rodriguez, and Plaintiffs shall recover from

the United States in the amount of:

             1. $11,233,214.20 for Juan Macias1;

             2. $300,000.00 for Juan Macias, as Personal Representative of
                the Estate of Jennifer Macias.

          Plaintiffs shall file their bill of costs with this Court within 10 days of en-

try of this judgment, which are to be taxed against the United States.



1    After reviewing trial testimony, the Court finds that inflation and interest offset
     each other, resulting in a net discount rate of 0%. Therefore, of this amount,
     $3,142,351.92 represents the present value of reasonable and necessary future
     medical expenses Juan Macias will incur.

                                            Page 1 of 2
        Case 5:19-cv-00806-XR Document 8 Filed 04/05/22 Page 2 of 2




      Post-judgment interest shall be awarded in accordance with 31 U.S.C.

§ 1304(b)(1). Such interest shall be calculated at a rate equal to the weekly

average 1-year constant maturity Treasury yield, as published by the Board

of Governors of the Federal Reserve System, for the calendar week preceding

the Judgment. 28 U.S.C. § 1961(a). For the week preceding this Judgment,

the rate is set at 1.66 percent.2

      Pursuant to 28 U.S.C. § 2678, attorney’s fees are limited to 25% of the

judgment, which the Court finds to be a reasonable and necessary fee in this

case.

      This final judgment disposes of all claims in the above-styled cause.

      It is so ORDERED.

      SIGNED this 5th day of April, 2022.




                                    XAVIER RODRIGUEZ
                                    UNITED STATES DISTRICT COURT




2   See https://www.federalreserve.gov/releases/h15/; accessed April 4, 2022, showing
    1-year Treasury constant maturities for March 25, 28-31, which average to 1.66%.

                                         Page 2 of 2
